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                                                              9
                                                                                       UNITED STATES DISTRICT COURT
                                                             10
                                                                                     CENTRAL DISTRICT OF CALIFORNIA
                                                             11
LAWYERS for JUSTICE, PC




                                                                  RAFAEL MELENA, JR., individually,        Case No. 2:21-cv-06769 PA(Ex)
                          410 West Arden Avenue, Suite 203




                                                             12   and on behalf of other aggrieved
                              Glendale, California 91203




                                                                  employees pursuant to the California     (Removed from:
                                                             13   Private Attorneys General Act,           Los Angeles County Superior Court,
                                                                                                           Case No. 21CMCV00146)
                                                             14                Plaintiff,
                                                                        v.                                 PLAINTIFF’S OPPOSITION TO
                                                             15                                            DEFENDANTS’ MOTION FOR
                                                                  ASRC INDUSTRIAL SERVICES, LLC,           SUMMARY JUDGMENT OR, IN
                                                             16   an unknown business entity; D2           THE ALTERNATIVE, SUMMARY
                                                                  INDUSTRIAL SERVICES, an unknown          ADJUDICATION
                                                             17   business entity; F.D. THOMAS, INC., an
                                                                  unknown business entity; and DOES 1      [Filled concurrently with Statement of
                                                             18   through 100, inclusive,                  Genuine Issues; Objections to
                                                                                                           Defendant’s Evidence; Declaration of
                                                             19                Defendants.                 Jacob Karczewski; and [Proposed]
                                                                                                           Order]
                                                             20
                                                                                                           District Judge:   Hon. Percy Anderson
                                                             21                                            Magistrate:       Hon. Charles F. Eick
                                                                                                           Hearing Date:     December 20, 2021
                                                             22                                            Hearing Time:     1:30 p.m.
                                                                                                           Department:       9A
                                                             23                                            Judge:            Hon. Percy Anderson
                                                             24                                            Action Filed:     June 10, 2021
                                                                                                           Motion Cutoff     May 9, 2022
                                                             25                                            Disc. Cutoff:     May 2, 2022
                                                                                                           Trial Date:       July 12, 2022
                                                             26

                                                             27

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                                                                     PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR, IN
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                                                              1                  MEMORANDUM OF POINTS AND AUTHORITIES
                                                              2    I.     INTRODUCTION
                                                              3           Defendants ASRC Industrial Services, LLC (“AIS”), D2 Industrial Services,
                                                              4   Inc. (“D2”), and F.D. Thomas, Inc. (“FDT”), collectively referred to herein as
                                                              5   “Defendants” Motion for Summary Judgment must be denied because Defendants
                                                              6   fail to meet their initial burden under Rule 56(a). They do not and cannot show an
                                                              7   absence of genuine issues of material fact because they provide no evidence
                                                              8   showing D2 agreed to the Private Attorney General Act exemption (Labor Code §
                                                              9   2699.6, hereinafter the PAGA Exemption). Two agreements–and especially the
                                                             10   time at which they were made–control this issue.          The first is a collective
                                                             11   bargaining agreement (“CBA”) which no Defendant ever signed. Dkt. 21-5. It
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                                                             12   was executed in 2016. The second is an “International Agreement,” which only
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                                                             13   Defendant D2 signed in October 2017. Dkt. 21-7. The International Agreement
                                                             14   purports to show D2 agreeing to be bound by some but not all of the then-effective,
                                                             15   then-established CBA. Both agreements predate the PAGA Exemption becoming
                                                             16   a law in this state by well over a year. In January of 2019, the PAGA Exemption
                                                             17   was signed into law, and thereafter only the parties who originally signed the CBA
                                                             18   signed an amendment to it, agreeing to be bound by the new PAGA Exemption
                                                             19   law. Dkt. 21-8, at 10-11, hereinafter referred to as the “PAGA MOU.”
                                                             20           No Defendant has ever signed the PAGA MOU, not even D2. In fact, D2
                                                             21   does not even provide a declaration in support of Defendants’ motion. Instead,
                                                             22   Defendants provide declarations from two persons–Stephen Araiza and Anthony
                                                             23   Graziano–who worked for the union (at the regional and national levels) and who
                                                             24   attempt to tell the Court how it should interpret contract formation and dispose of
                                                             25   this case. Neither declaration is admissible and Plaintiff submits several objections
                                                             26   to each. At bottom, Defendants’ argument for the PAGA Exemption applying is
                                                             27   that the Court should infer that the parties really manifested their intent to be
                                                             28   bound by a law that did not exist the last time they put pen to paper on any

                                                                                                            1
                                                                        PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR, IN
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                                                              1   document. Their argument easily fails for a variety of reasons.
                                                              2          First, the CBA’s terms explicitly limit its application to only those “who
                                                              3   have individually signed it.” That means exactly what it says–if each Defendant
                                                              4   did not sign the CBA, it does not apply to them. Second, if the parties to the CBA
                                                              5   wished to amend it there were only certain subjects they could amend, and strict
                                                              6   procedures to follow to effectuate any amendments. A PAGA Exemption was not
                                                              7   a subject permissible to amend, and the procedures were certainly not followed.
                                                              8   Third, harkening back to hornbook contract law–there was no requisite
                                                              9   consideration at all provided in exchange for accepting the PAGA Exemption.
                                                             10   Finally, the PAGA Exemption is not one of the very few provisions of the CBA
                                                             11   that the International Agreement agreed to abide by in Article I. The International
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                                                             12   Agreement and its signatories only ever agreed to the CBA’s provisions related to
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                                                             13   contractual wages, fringe benefits, hours and other working conditions,” nothing
                                                             14   more. For these reasons, Defendants’ main argument that relies in total on the
                                                             15   PAGA MOU must fail.
                                                             16          Defendants alternatively argue that each of Plaintiff’s underlying Labor
                                                             17   Code claims are preempted by section 301 of the Labor Management Relations Act
                                                             18   (“LMRA”). Despite the parties never meeting and conferring over this argument
                                                             19   prior to Defendants moving for summary judgment, each of these arguments easily
                                                             20   fails for reasons discussed below.1
                                                             21    II. LEGAL ARGUMENT
                                                             22      A. MOTION FOR SUMMARY JUDGMENT STANDARDS
                                                             23          Summary judgment is appropriate only where “there is no genuine dispute as
                                                             24   to any material fact and the movant is entitled to judgment as a matter of law.”
                                                             25   Fed. R. Civ. P. 56(a). The moving party has the burden of demonstrating the
                                                             26   absence of a genuine issue of material fact for trial. Anderson v. Liberty Lobby,
                                                             27
                                                                         1
                                                                           Defendants Motion for Summary Judgment violates both Local Rule 7-3 and section six
                                                             28   of the Court’s Standing Order at pp. 4-5.
                                                                                                         2
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                                                              1   Inc., 477 U.S. 242, 256 (1986). The court must view the inferences drawn from the
                                                              2   facts in the light most favorable to the nonmoving party. Id. at 255 supra, 477 U.S.
                                                              3   at 322. Fed. R. Civ. P. 56(d) states that when the nonmovant shows by declaration
                                                              4   that it cannot present facts essential to oppose a motion for summary judgment that
                                                              5   the Court may either defer considering the motion, deny the motion, or allow the
                                                              6   nonmoving party time to obtain discovery to oppose the motion.2
                                                              7        B. LEGAL CONTRACT LAW STANDARDS
                                                              8           “The courts’ superseding objective when interpreting a contract is to ‘give
                                                              9   effect to the mutual intention of the parties as it existed at the time of
                                                             10   contracting.’” International Brotherhood of Teamsters v. NASA Services, Inc., 957
                                                             11   F.3d 1038, 1042 (9th Cir. 2020) (quoting Cal. Civ. Code § 1636) (emphasis
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                                                             12   added). “When a contract is reduced to writing, this intent ‘is to be ascertained
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                                                             13   from the writing alone, if possible.’” U.S. Cellular Inv. Co. v. GTE Mobilnet, Inc.,
                                                             14   281 F.3d 929, 934 (9th Cir. 2002) (citing Cal. Civ. Code § 1639). “If contractual
                                                             15   language is clear and explicit, it governs.” In re Bennet, 298 F.3d 1059, 1064 (9th
                                                             16   Cir. 2002); AIU Ins. Co. v. Sup. Ct., 51 Cal. 3d 807, 822 (Cal. App. 1990); Sony
                                                             17   Computer Entm’t Am., Inc. v. Am. Home Assur. Co, 532 F.3d 1007, 2012 (9th Cir.
                                                             18   2008).
                                                             19           “‘The whole of a contract is to be taken together, so as to give effect to every
                                                             20   part, if reasonably practicable, each clause helping to interpret the other.’”
                                                             21   International Brotherhood of Teamsters, supra, 957 F.3d at 1042 (quoting Cal.
                                                             22   Civ. Code § 1641). As the California Court of Appeal stated decades ago,
                                                             23           It is a primary rule of interpretation that contracts must be construed
                                                                          as a whole[,] that is, from their four corners, and the intention of the
                                                             24           parties is to be collected from the entire instrument and not detached
                                                                          portions thereof, it being necessary to consider all of the parts to
                                                             25           determine the meaning of any particular part as well as of the whole.
                                                                          Individual clauses and particular words must be considered in
                                                             26

                                                             27   2
                                                                   Plaintiff hereby requests that the Court invoke Rule 56(d) and permit Plaintiff time to conduct
                                                                  additional discovery to oppose Defendants’ Motion for Summary Judgment. Declaration of
                                                             28   Jacob Karczewski (Karczewski Decl.), ¶¶ 5-22), filed concurrently herewith.
                                                                                                            3
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                                                                        connection with the rest of the agreement, and all of the writing and
                                                              1         every word of it will, if possible, be given effect.”
                                                              2
                                                                  Ajax Magnolia One Corp. v. S. Cal. Edison Co., 167 Cal.App.2d 743, 748 (Cal.
                                                              3
                                                                  App. 1959).
                                                              4
                                                                        The Court’s “function is to determine what, in terms and substance, is
                                                              5
                                                                  contained in the contract, not to insert what has been omitted.” Vons Companies,
                                                              6
                                                                  Inc. v. United States Fire Insurance Co. 78 Cal. App. 4th 52, 59-60 (Cal. App.
                                                              7
                                                                  2000). The Court “do[es] not have the power to create for the parties a contract that
                                                              8
                                                                  they did not make and cannot insert language that one party now wishes were
                                                              9
                                                                  there.” Id. “Under California law, parties may validly incorporate by reference
                                                             10
                                                                  into their contract the terms of another document.” Baker v. Aubry, 216 Cal. App.
                                                             11
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                                                                  3d 1259, 1264 (Cal. App. 1989). However, the reference to the incorporated
                                                             12
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                                                                  document must be clear and unequivocal and the terms of the incorporated
                                                             13
                                                                  document must be known or easily available to the contracting parties. Id.; Chan v.
                                                             14
                                                                  Drexel Burnham Lambert, Inc., 178 Cal. App. 3d 632, 641 (1986).
                                                             15
                                                                     C. THE MOTION MUST BE DENIED AS TO DEFENDANTS AIS AND
                                                             16
                                                                        FDT BECAUSE NEITHER ARE PARTY TO THE CBA
                                                             17
                                                                        Defendants’ motion is brought not only on D2’s behalf but also by
                                                             18
                                                                  Defendants AIS and FDT. None of Defendants’ Uncontroverted Facts establish
                                                             19
                                                                  that either AIS or FDT were party to the CBA or the International Agreement.
                                                             20
                                                                  Dkt. 21-2. Nor do they purport to establish that they are intended third-party
                                                             21
                                                                  beneficiaries to either agreement. Id. In fact, the only reference to either entity is
                                                             22
                                                                  in fact number two, which cites to a single paragraph in paragraph four of Terra
                                                             23
                                                                  Wells’ declaration. Id. at p. 2. Ms. Wells’ statement in her declaration summarily
                                                             24
                                                                  states “Plaintiff was never employed by AIS or FDT.” Dkt. 21-5 at p. 2. She
                                                             25
                                                                  provides no foundation for how she reached this conclusion or what if any
                                                             26
                                                                  documents she reviewed. She previously testified that AIS wholly controls both
                                                             27
                                                                  D2 and FDT. Dkt. 22-2 at p. 2. Her declarations fail to establish whether and to
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                                                              1   what extent AIS or FDT had the right to control the manner and means of
                                                              2   Plaintiff’s work, or whether either suffered or permitted such work. Martinez v.
                                                              3   Combs, 49 Cal.4th 35, 68-69 (2010). As such, Defendants AIS and FDT wholly
                                                              4   failed to meet their initial burden under Rule 56.
                                                              5        D. THE CBA DOES NOT APPLY D2 BECAUSE IT APPLIES ONLY TO
                                                              6           THOSE “WHO HAVE INDIVIDUALLY SIGNED” IT
                                                              7           Defendants supply no evidence for their conclusion that the CBA is binding
                                                              8   on D2. According to the CBA itself, D2 is not binding on any members of the
                                                              9   Association (United General Contractors, Inc.)3 unless those members have also
                                                             10   individually signed the CBA. Section 102.2 of the CBA provides:
                                                             11           This Agreement is made for and on behalf of and shall be binding
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                                                                          upon all eligible persons, firms or corporations who at the time of
                                                             12
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                                                                          execution of this Agreement are, or during the term hereof become
                                                                          eligible members of the Association and who have individually
                                                             13           signed this Agreement.
                                                             14
                                                                  Dkt. 21-7, p. 12 emphasis added. There is no evidence that D2 signed the CBA.
                                                             15
                                                                          Indeed, the CBA further clarifies under Section 202 that UGC is recognized
                                                             16
                                                                  as the sole and exclusive bargaining representative “for its respective eligible
                                                             17
                                                                  members, present and future, who are or who become bound by this
                                                             18
                                                                  agreement…” Because Defendants cannot provide evidence that D2 signed the
                                                             19
                                                                  CBA, Defendants also cannot maintain that UGC was authorized to negotiate on
                                                             20
                                                                  D2’s behalf with respect to the CBA. This means that Defendants loose contention
                                                             21
                                                                  that “[t]he terms and conditions of Plaintiff’s employment as a Scaffolder for D2
                                                             22
                                                                  from August 2020 through October 2020 were governed by the CBA between
                                                             23
                                                                  United General Contractors, Inc. and the Union,” cannot be a consequence of
                                                             24
                                                                  UGC’s agreement to be bound by the CBA. Under the CBA’s express terms, D2
                                                             25
                                                                  never agreed to be bound. ECF 21-1, at 17:14-15; ECF 21-2, p. 20:13-15.
                                                             26

                                                             27   3
                                                                   “The term Association, as used herein, shall refer to the United General Contractors, Inc.
                                                                  previously named and signatory to this Agreement negotiating on behalf of its eligible
                                                             28   members.” ECF 21-7, p. 8, Art. I, Sec. 101.2.
                                                                                                            5
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                                                              1      E. APPENDIX O, THE PAGA MOU, WAS NEVER PROPERLY
                                                              2         INCORPORATED INTO THE CBA
                                                              3         The PAGA MOU that Defendants now contend is a part of the CBA was
                                                              4   never properly incorporated for two reasons. First, the CBA contains an anti-
                                                              5   modification clause that only provides for modifications in limited circumstances
                                                              6   for limited purposes, none of which apply to the PAGA MOU. Second, the PAGA
                                                              7   MOU substantially modified the CBA without any supporting consideration.
                                                              8

                                                              9         1. The PAGA MOU Is Not Incorporated Because It is Covered Under
                                                             10             the Limited Exceptions to the CBA Anti-Modifications Provisions
                                                             11         The July 1, 2016 CBA expressly identifies the only appendices incorporated,
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                                                             12   which “shall be a part of this Agreement as though fully set forth herein,” as
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                                                             13   Appendices A through L, and Appendix SD.          Dkt. 21-7, at Paragraph 2901
                                                             14   (“ARTICLE XXIX APPENDICES”). The CBA contains a strict anti-modification
                                                             15   clause precluding changes or modifications “except as otherwise provided in the
                                                             16   Article covering existing and other agreements.” Dkt. 21-7, at Paragraph 102.4
                                                             17   The anti-modification clause states in full:
                                                             18         This Agreement is separate and distinct from and independent of all
                                                                        other Agreements entered into between the Union and other
                                                             19         Contractor organizations irrespective of any similarity between this
                                                                        Agreement and any such other Agreements, and no acts or things
                                                             20         done by the parties to such Agreements or notices given pursuant to
                                                                        the provisions thereof, shall change or modify this Agreement or in
                                                             21         any manner affect the contractual relationships of the parties
                                                                        herein, except as otherwise provided in the Article covering
                                                             22         existing and other Agreements.
                                                             23
                                                                  Dkt. 21-7, at Paragraph 102.4 (hyphens omitted, emphasis added).
                                                             24
                                                                        None of the provisions in the Article Covering “Existing and Other
                                                             25
                                                                  Agreements,” Article XII, permit the PAGA MOU to be incorporated as a
                                                             26
                                                                  subsequent modification to the CBA. Paragraph 1201 and 1201.1 only addresses
                                                             27
                                                                  subsequent modifications regarding “special conditions for work” in certain “Area
                                                             28

                                                                                                         6
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                                                              1   Agreements.” Dkt. 21-7, 1201. Paragraph 1202 only applies to “other Agreements
                                                              2   pertaining to the rental and use of construction equipment.” Dkt. 21-7, 1202.
                                                              3   Paragraph 1204 addresses “project agreements with MBE’s and WBE’s when
                                                              4   required by bid specifications or government regulations.”
                                                              5            In contrast to these specific and enumerated provisions–which are the only
                                                              6   exceptions to the anti-modification clause under Paragraph 102.4–the January 4,
                                                              7   2019 PAGA MOU’s stated purpose is to “avail” the parties (SWRCC and UGC)
                                                              8   “of the exemption that the Private Attorneys Generals Act, in particular Labor
                                                              9   Code § 2699.6, [and] extend [it] to collectively-bargained contractors in the
                                                             10   construction industry.” Dkt 21-8, at p. 10-11. Thus the PAGA MOU amounts to a
                                                             11   substantial modification of the CBA and is expressly forbid under the CBA’s own
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                                                             12   terms.
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                                                             13            2. The PAGA MOU Is Not Incorporated Because It Lacks
                                                             14               Consideration.
                                                             15            The PAGA MOU is also not incorporated into the CBA signed because it is
                                                             16   a substantial modification that lacks adequate consideration. “Modification of a
                                                             17   written contract is not binding unless supported by consideration.” Fairline
                                                             18   Estates, Inc. v. Carrico Const. Co., 228 Cal. App. 2d 65, 71 (Cal. App. 1964).
                                                             19   Consideration requires that one party induce another to a promise by conferring a
                                                             20   benefit to which that other party was not lawfully entitled. Cal. Civ. Code § 1605.
                                                             21   Here, because neither party gained or sacrificed anything compared to the other, it
                                                             22   is not enough that the SWRCC and UGC wished to modify the CBA on January 4,
                                                             23   2019 “for the purpose of availing themselves of the exemption” under section
                                                             24   2699.6. Dkt 21-8, at p. 10-11. As a result, there was insufficient consideration for
                                                             25   the CBA to be modified by the addition of the PAGA MOU.
                                                             26      F. EVEN if APPENDIX “O” WAS INCORPORATED INTO THE CBA,
                                                             27            Section 2699.6 Does Not Apply Here for myriad reasons
                                                             28            Assuming, arguendo, that the PAGA MOU was incorporated into the CBA
                                                                                                         7
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                                                              1   in 2019, the PAGA exemption created by Labor Code § 2699.6 does not apply
                                                              2   here. There are several reasons for this.
                                                              3          1. As a Practical Matter, Labor Code 2699.6 was not a Law When D2
                                                              4             Signed the International Agreement such that it was not an
                                                              5             “Established” Provision to which D2 could have Agreed.
                                                              6          The original CBA, entered into on or about July 1, 2016, predated by more
                                                              7   than a year the passage of the PAGA exemption into law. The International
                                                              8   Agreement was executed October 19, 2017, and does not expressly or impliedly
                                                              9   evince D2 agreeing to be bound by the entire CBA–as a whole–as it was then-
                                                             10   constituted in 2017, much less the subsequently attached PAGA MOU. Rather,
                                                             11   under Article I, D2 clarified the “recognition and scope” of its agreement as
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                                                             12   follows, in full:
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                                                             13          The Employer [D2] agrees to recognize the jurisdictional claims of the
                                                                         International Union and to comply with the contractual wages, fringe
                                                             14          benefits, hours and other working conditions established between the
                                                                         International Union affiliates and the employers or recognized
                                                             15          employer agencies in the localities in which the employer does any
                                                                         work within the jurisdiction of the International Union.
                                                             16

                                                             17   International Agreement, Dkt. 21-9, p. 7, at Art. I. (emphasis added).           This
                                                             18   manifests, at most, D2’s agreement to (1) recognize jurisdictional claims of the
                                                             19   International Union, and (2) comply with the contractual wages, fringe benefits,
                                                             20   hours, and other working conditions, that had by then been established. It does not
                                                             21   manifest an assent to be bound by either by the CBA writ large or a subsequently-
                                                             22   drafted MOU that refers to a law that had not been enacted at the time of the
                                                             23   International Agreement’s signing.
                                                             24          Under basic contract interpretation principles (see section II(B), supra), that
                                                             25   the limited PAGA exemption under Labor Code § 2699.6, did not become law
                                                             26   until January 1, 2019, over a year after D2 executed the International Agreement.
                                                             27   Because the PAGA exemption did not exist when D2 executed the International
                                                             28   Agreement, it could not have been “established” as part of the CBA.
                                                                                                         8
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                                                              1         2. As Matter of Contract Interpretation, the PAGA MOU as not
                                                              2             “Established” when the International Agreement was Executed.
                                                              3         To the extent that the International Agreement evinces D2’s assent to the
                                                              4   International Union’s jurisdictional claims or to comply with contractual wages,
                                                              5   fringe benefits, hours and working conditions, that assent is expressly limited to
                                                              6   those that had already been “established” as of the October 19, 2017 execution
                                                              7   date. International Agreement, Dkt. 21-9, p. 7, at Art. I. (emphasis added). “Unless
                                                              8   the parties have indicated a special meaning, the contract's words are to be
                                                              9   understood in their ordinary and popular sense.” Crawford v. Weather Shield Mfg.,
                                                             10   Inc., 44 Cal.4th 541, 552 (Cal. 2008); Cal. Civ. Code § 1644.
                                                             11         “Established” is the past-tense of the verb “establish.” In contrast “will
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                                                             12   establish” or “may establish” are examples of future-tense uses of the verb
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                                                             13   “establish.” “Established,” in this context thus can only reasonably be understood
                                                             14   in its ordinary, past-tense sense as referring to events or agreements that occurred
                                                             15   prior to and up to October 19, 2017, but not events that could or would occur later.
                                                             16   See, also., Dazadi, Inc. v. Sport Squad, LLC, 2017 WL 5635029, at *4 (C.D. Cal.,
                                                             17   May 25, 2017) (finding that a contract’s exclusive utilization of “the past tense”
                                                             18   was an inclusion that “most reasonably referred” to events occurring in the past).
                                                             19         In Revitch v. DIRECTV, LLC, 977 F.3d 713 (9th Cir. 2020), the Ninth
                                                             20   Circuit held that the absence of future-tense description of “affiliates” in a contract
                                                             21   barred a later-joining affiliate from enforcing the contract’s terms. In Revitch, a
                                                             22   party who contracted with a cell phone services provider could not reasonably have
                                                             23   expected that he would be forced to arbitrate an unrelated dispute with a television
                                                             24   provider that would not become affiliated with the cell phone services provider
                                                             25   until years later. Revitch, 977 F.3d, at 717-718. The Revitch Court’s reasoning is
                                                             26   instructive:
                                                             27         Had the wireless services agreement stated that “AT&T” refers to
                                                                        “any affiliates, both present and future,” we might arrive at a different
                                                             28         conclusion. However, absent this or similar forward-looking
                                                                                                         9
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                                                                        language, we are convinced that the agreement does not cover
                                                              1         entities that became affiliated with AT&T Mobility years after the
                                                                        contract was signed in an unrelated corporate acquisition. See
                                                              2         Unova, Inc. v. Acer Inc., 363 F.3d 1278, 1282 (Fed. Cir. 2004)
                                                                        (interpreting California law and holding that a release from liability
                                                              3         provision “written in the present tense ... most naturally does not
                                                                        refer to [a party's] future parents”); VKK Corp. v. Nat'l Football
                                                              4         League, 244 F.3d 114, 130 (2d Cir. 2001) (“The Release's reference to
                                                                        ‘affiliates’ ... [is] stated in the present tense. Nothing ... indicates the
                                                              5         inclusion of future rather than present members.”).
                                                              6   Revitch, 977 F.3d, at 718.
                                                              7         These basic contract law principles instruct are crucial here.                 If the
                                                              8   International Agreement stated D2 agreed to “comply with the contractual wages,
                                                              9   fringe benefits, hours and other working conditions [that “will” or even “may” be
                                                             10   established in the future] between the International Union affiliates and the
                                                             11   employers or recognized employer agencies,” the Court might be able to ascertain
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                                                             12   a broader, forward-looking intent by D2. That language could be interpreted as
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                                                             13   manifesting D2’s intent to be bound by future-but-not-yet-existing terms. The
                                                             14   International Agreement does not so state.
                                                             15         3. Defendants Provide No Evidence–Direct or Indirect–to Support their
                                                             16              Interpretation that the CBA’s PAGA MOU was Incorporated by the
                                                             17              International Agreement.
                                                             18         i.     Lack of Direct Evidence of PAGA MOU’s Incorporation.
                                                             19
                                                                        At the time of contracting in 2017, is impossible that either party’s intention
                                                             20
                                                                  was to agree to a PAGA waiver under Labor Code § 2699.6. Defendants broadly
                                                             21
                                                                  contend–without any contractual language cited in support–that D2’s intent to
                                                             22
                                                                  agree to the PAGA MOU may be ascertained from the International Agreement
                                                             23
                                                                  itself. Again, when the International Agreement was signed, the PAGA exemption
                                                             24
                                                                  did not exist as a law in this state. “The courts’ superseding objective when
                                                             25
                                                                  interpreting a contract is to ‘give effect to the mutual intention of the parties as it
                                                             26
                                                                  existed at the time of contracting.’” International Brotherhood of Teamsters,
                                                             27
                                                                  supra, 957 F.3d at 1042.
                                                             28
                                                                         Ignoring    this   fatal   fact,   Defendants   instead   cite   the   following
                                                                                                         10
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                                                              1   “uncontroverted facts” to support their claim that the PAGA MOU is part of the
                                                              2   International Agreement: 35-36, 39, and 41-43. Each of these “uncontroverted
                                                              3   facts” relies solely upon lay opinions of Anthony Graziano at paragraphs 4-7, and
                                                              4   Stephen Araiza at paragraphs 7-8.      Nothing in either individual’s declaration
                                                              5   establishes that the PAGA MOU was in fact incorporated into the International
                                                              6   Agreement as executed by D2. See, Plaintiff’s Statement of Genuine Issues and
                                                              7   Plaintiff’s Objections to Defendants’ Evidence, both filed concurrently herewith.
                                                              8         ii.   Lack of Evidence Showing the PAGA MOU is Impliedly Incorporated.
                                                              9
                                                                        There is no evidence from which to infer that D2 implicitly accepted the
                                                             10
                                                                  PAGA MOU. First and most fatal, D2 submits no declaration of its own to testify
                                                             11
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                                                                  to its intent or understanding of the International Agreement. Even more, after
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                                                             12
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                                                                  executing the CBA and the International Agreement, contracting parties
                                                             13
                                                                  demonstrated that they knew how to assent to terms of the subsequent
                                                             14
                                                                  amendments. This much is evidenced by the fact that the SWRCC and UGC did
                                                             15
                                                                  indeed express their assent to the PAGA MOU on January 4, 2019. See Araiza
                                                             16
                                                                  Decl. p. 2 of 2, Dkt. 21-8, at p. 11. No similar agreement exists as to D2. If D2
                                                             17
                                                                  had executed a similar, subsequent PAGA MOU, there would be no dispute.
                                                             18
                                                                  Similarly, D2 showed it knew how to show its assent to future amendments or
                                                             19
                                                                  agreements between the parties to the International Agreement. See e.g., Dkt. 21-
                                                             20
                                                                  9, p. 7, at Art. III (“The parties further agree to any future increases made to the
                                                             21
                                                                  current contribution amount” to the Carpenters International Training Fund). It
                                                             22
                                                                  also knew how to reject future “[A]ddenda to this Agreement” by clearly stating
                                                             23
                                                                  that any such amendments “shall be reduced to writing.” Id. at Art. VII. Here.
                                                             24
                                                                  There are no facts submitted by Defendants that support an implied assent to the
                                                             25
                                                                  PAGA MOU. As such, the Court is prohibited from reading in assent where none
                                                             26
                                                                  is demonstrated within the evidence provided. ML Direct, Inc. v. TIG Specialty
                                                             27
                                                                  Ins. Co., 79 Cal. App. 4th 137, 142 (Cal. App. 2000).
                                                             28

                                                                                                         11
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                                                              1           4. The PAGA MOU does not Fall within Article I of the International
                                                              2              Agreement and such it does not Apply to D2 or Plaintiff.
                                                              3           Assuming the International Agreement incorporates at least some parts of
                                                              4   the CBA, the question then turns to, what are those parts? Article I squarely
                                                              5   addresses that inquiry and incorporates only the provisions of the CBA related to
                                                              6   “contractual wages, fringe benefits, hours and other working conditions established
                                                              7   between” the Union and the employer. Dkt. 21-9, p. 6, Art. I. The PAGA MOU is
                                                              8   none of those things.          Rather, the PAGA MOU attempts to preclude an
                                                              9   administrative agency of the State of California from bringing claims against the
                                                             10   employer. The PAGA MOU is procedural in nature. The terms of the CBA that
                                                             11   the International Agreement incorporates are substantive.
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                                                             12           Nothing in Defendants’ motion, uncontroverted facts, or its supporting
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                                                             13   evidence could plausibly support the contention That the PAGA MOU falls within
                                                             14   Article I of the International Agreement.4
                                                             15           5. Terra Wells’ Declarations Misconstrue What, In Fact, is a “True and
                                                             16              Correct Copy” of the CBA that was “Entered Into” on July 1, 2016.
                                                             17           Underlying this Motion is the highly dubious contention that the July 1,
                                                             18   2016 is a living document that can be amended at any time in the future to create
                                                             19   new obligations or restrictions that apply to non-signatories. Defendants seek to
                                                             20   accomplish this interpretation through its key witnesses, who declare that the
                                                             21   January 1, 2016 CBA, as it existed when D2 signed the International Agreement is
                                                             22   the functional and legal equivalent of the CBA that now exists, including any and
                                                             23   all amendments added after its signing. There is no support for this claim.
                                                             24           As an initial matter, Defendant’s key witness, Terra Wells, at best, severely
                                                             25   misconstrued what is, in fact, a “true and correct copy” of the CBA that was the
                                                             26
                                                                  4
                                                                    Indeed, Defendants never address whether they argue that the PAGA MOU is tantamount to
                                                             27   “contractual wages, fringe benefits, hours and other working conditions” as those terms are used
                                                                  in the International Agreement.
                                                             28

                                                                                                            12
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                                                              1   sole justification for removing this action to this Court.       Dkt. 1-5.    In her
                                                              2   Declaration in support of summary judgment, Ms. Wells states that the attached
                                                              3   “Exhibit A is a true and correct copy of that CBA,” which she describes in the
                                                              4   immediately-preceding sentence as the CBA entered into “[o]n or about July 1,
                                                              5   2016.” Wells MSJ Decl. Dkt. 21-5, ¶ 5. Yet her “Exhibit A” is not the agreement
                                                              6   that was entered into “on or about July 1, 2016;” it is substantially different. That
                                                              7   much is evidenced by the Exhibit itself, which includes “Appendix O,” (the
                                                              8   PAGA MOU) and refers to the passage of AB 1654 in past-tense as follows
                                                              9   “WHEREAS, Governor Jerry Brown signed Assembly Bill 1654 (“AB 1654”) on
                                                             10   September 19, 2018, which added section 2699.6 to the Labor Code.” Dkt. 21-5,
                                                             11   at p. 153 (emphasis added).
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                                                             12         Ms. Wells’ misrepresentation is clearly an objectionable legal opinion and is
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                                                             13   wholly undermined by documents that Plaintiff received in response to a Subpoena
                                                             14   under Fed. R. Civ. P. 45 (the FRCP 45 Subpoena). Plaintiff asked the union for,
                                                             15   and received, documents that “altered,” the CBA, “after it was originally agreed
                                                             16   to” on July 1, 2016. Specifically, Plaintiff’s FRCP 45 Subpoena to the Southwest
                                                             17   Regional Council of Carpenters and Local Unions (“SWRCC”) demanded the
                                                             18   production of:
                                                             19         Any and all documents related to amendments, appendices, and
                                                                        related agreements that in any way altered the 2016-2022 “Southern
                                                             20         California Master Labor Agreement between United General
                                                                        Contractors, Inc. and the Southwest Regional Council of Carpenters
                                                             21         and Local Unions in the Twelve Southern California Counties and
                                                                        Nevada Affiliated with the United Brotherhood of Carpenters and
                                                             22         Joiners of America,” after it was originally agreed to by Ronald Tutor
                                                                        and Randy Thornhill on July 1, 2016.
                                                             23
                                                                  Karczewski Decl., ¶ 3, Ex. C (emphasis added)). In response, SWRCC provided
                                                             24
                                                                  several documents, including the stand-alone version of what now appears as
                                                             25
                                                                  “Appendix O” (albeit, with signatures) in what Ms. Wells’ incorrectly contends is
                                                             26
                                                                  a “true and correct copy” of the CBA that was “entered into” on July 1, 2016.
                                                             27
                                                                  Karczewski Decl., ¶ 4, Ex. D.
                                                             28

                                                                                                         13
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                                                              1         In other words, according to the SWRCC, Appendix O is not, as Ms. Wells a
                                                              2   “true and correct copy” of the July 1, 2016 CBA. To the contrary, according to the
                                                              3   SWRCC, that Appendix O is a document that, in fact “altered” that CBA “after it
                                                              4   was originally agreed to on July 1, 2016.” (Karczewski Decl., 4, Ex. D. She has
                                                              5   since abandoned that position. Defendants apparently have not. In Paragraph 7 of
                                                              6   Ms. Wells’ declaration in support of this motion, she explains why the logic in her
                                                              7   previous declaration was wrong:
                                                              8         “At the time I executed my Declaration in support of Defendants’
                                                                        Notice of Removal of Civil Action to Federal Court Pursuant to 28
                                                              9         U.S.C. §§ 1331, 1441 and 1446 on August 20, 2021, I was informed
                                                                        and believed that D2 is, and has been, a member of United General
                                                             10         Contractors, Inc. since the CBA became effective on July 1, 2016. I
                                                                        based that belief on my understanding that collective bargaining
                                                             11         agreements can be negotiated directly by employers or by employer
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                                                                        associations negotiating on behalf of their members. Since I signed
                                                             12
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                                                                        that Declaration, I became aware that D2 is bound by the CBA
                                                                        because D2 entered into the International Agreement attached as
                                                             13         Exhibit B, discussed below.”
                                                             14
                                                                  Compare Wells’ MSJ Decl., Dkt. 21-5, ¶ 7, with Wells’ Removal Decl., Dkt. 1-5, ¶
                                                             15
                                                                  9).
                                                             16
                                                                        Plaintiff and Ms. Wells now appear to disagree with Ms. Wells since-
                                                             17
                                                                  abandoned position that UGC’s assent to the CBA could in any way bind D2. As
                                                             18
                                                                  she stated in her Declaration supporting Removal:
                                                             19
                                                                        The terms and conditions of Plaintiff’s employment as a Carpenter
                                                             20         with D2 were governed by a CBA between United General
                                                                        Contractors, Inc. and the Southwest Regional Council of Carpenters
                                                             21         and Local Unions in the Twelve Southern California Counties and
                                                                        Nevada Affiliated with the United Brotherhood of Carpenters and
                                                             22         Joiners of America (“Union”), effective July 1, 2016 through the
                                                                        present.
                                                             23
                                                                  (Wells’ Removal Decl., Dkt. 1-5, ¶ 9). Plaintiff agrees with Ms. Wells’ new
                                                             24
                                                                  position that D2 could not have agreed to any part of the CBA unless D2 expressly
                                                             25
                                                                  manifested its assent by signing the International Agreement.         In contrast,
                                                             26
                                                                  Defendants have held to the original, mistaken logic that signatures by UGC are
                                                             27
                                                                  binding as to D2. In other words, although at some time between filing their
                                                             28
                                                                  removal in August 2021 and filing the present motion in November 2021,
                                                                                                         14
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                                                              1   Defendants have conceded that their theory of removal (that D2 is bound to the
                                                              2   CBA by virtue of UGC’s having signed it) was mistaken. Although Defendants do
                                                              3   not outright rely on this same, admittedly flawed logic, it bears repeating that UGC
                                                              4   is the lone signatory other than the Union to the PAGA MOU. (Dkt 21-8, at p. 10-
                                                              5   11).
                                                              6          Exactly what Defendants claimed substantiated the PAGA MOU’s
                                                              7   application to this case has been discussed between the parties for months. Indeed,
                                                              8   in the first email correspondence raising the Section 2699.6 issue, Defendants’
                                                              9   counsel explicitly referred to Ms. Wells’ declaration in support of removal, stating
                                                             10   “as we explained in Defendants’ Notice of Removal, Mr. Melena’s employment
                                                             11   was subject to the CBA attached to the supporting Declaration of Terra Wells
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                                                             12   (copy attached for reference).” Karczewski Decl, ¶ 1, Ex. A. When pushed
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                                                             13   repeatedly on this issue, Defendants’ counsel further explained that “the very first
                                                             14   paragraph of the CBA states that the ‘Agreement is entered into this first day of
                                                             15   July, 2016, by and between the United General Contractors, Inc. negotiating on
                                                             16   behalf of its respective eligible members,” and continued “As Ms. Wells attested
                                                             17   [in her removal declaration], D2 is one of the members on behalf of which United
                                                             18   General Contractors, Inc. negotiated the CBA.” Karczewski Decl, ¶ 2 Ex. B.
                                                             19          What remains is the awkward conclusion that the true reason why
                                                             20   Defendants first believed that D2 was bound by that same PAGA MOU (inasmuch
                                                             21   as D2 was previously–according to Wells–bound by the CBA by virtue
                                                             22   of UGC having signed it), is the same reason they now believe D2 is bound, a
                                                             23   logic that they have in other ways since abandoned, as admitted by Ms. Wells.
                                                             24          At the very least, Plaintiff should be afforded discovery on this issue. See
                                                             25   Karczewski Decl., supra, fn. 3, filed concurrently herewith. The Court may also
                                                             26   wish to consider whether this matter was properly removed in the first instance.
                                                             27      G. Plaintiff’s PAGA Claims are Not Preempted by the LMRA
                                                             28          In determining whether LMRA § 301 preempts state law, courts must first
                                                                                                         15
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                                                              1   consider “whether the asserted cause of action involves a right conferred upon an
                                                              2   employee by virtue of state law, not by a [collective bargaining agreement]. If the
                                                              3   right exists solely as a result of the [collective bargaining agreement], then the
                                                              4   claim is preempted.” Burnside v. Kiewit Pac. Corp., 491 F.3d 1053, 1059 (9th. Cir.
                                                              5   2007). To determine whether a right is independent of a collective bargaining
                                                              6   agreement, a court considers “the legal character of a claim, as ‘independent’ of
                                                              7   rights under the collective-bargaining agreement [and] not whether a grievance
                                                              8   arising from ‘precisely the same set of facts’ could be pursued.” Id. (quoting
                                                              9   Livadas v. Bradshaw, 512 U.S. 107, 123 (1994)). Section 301 only preempts
                                                             10   claims that are “founded directly on rights created by collective-bargaining
                                                             11   agreements.” Caterpillar, Inc. v. Williams, 482 U.S. 386, 394 (1987).
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                                                             12         If a plaintiff's right “exists independently of the [collective bargaining-
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                                                             13   agreement],” then the court “must still consider whether it is nevertheless
                                                             14   ‘substantially dependent on analysis of a collective-bargaining agreement.’ ”
                                                             15   Burnside, 491 F.3d at 1059 (citing Caterpillar, 482 U.S. at 394). A state law right
                                                             16   depends on a collective bargaining agreement if the court must “interpret” the
                                                             17   agreement, whereas the right is independent of the collective bargaining agreement
                                                             18   if the court need only “look to” the agreement. Id. at 1060 (citing Livadas, 512
                                                             19   U.S. at 125). The Ninth Circuit has stated that “the ‘look to’/‘interpret’ distinction
                                                             20   is ‘not always clear or amenable to a bright-line test.’” Id. (citing Cramer v.
                                                             21   Consol. Freightways, Inc., 255 F.3d 683, 689 (9th Cir. 2001)). But the Ninth
                                                             22   Circuit has provided guidance to courts considering this question: “[I]in the context
                                                             23   of § 301 complete preemption, the term ‘interpret’ is defined narrowly—it means
                                                             24   something more than ‘consider,’ ‘refer to,’ or ‘apply.’” Kobold v. Good Samaritan
                                                             25   Reg’l Med. Ctr, 832 F.3d 1024, 1033 (9th Cir. 2016) (internal quotation marks
                                                             26   omitted) (quoting Balcorta v. Twentieth Century–Fox Film Corp., 208 F.3d 1102,
                                                             27   1108 (9th Cir. 2000)). Thus, to be preempted, Plaintiff's claims must depend on an
                                                             28   interpretation of the Parties' CBA that involves an analysis more significant than
                                                                                                         16
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                                                              1   merely referencing the agreement
                                                              2         1. Plaintiff’s Labor Code Claims Are Not Preempted Because
                                                              3             Defendants Are Not Parties To Nor Bound By The CBA.
                                                              4         The CBA doesn’t cover our claims (same argument as above, but broken
                                                              5   down for each claim.)
                                                              6         2. Assuming that D2 Is Bound by the CBA, Plaintiff’s PAGA Claims
                                                              7             are Not Preempted Under LMRA.
                                                              8                       i.    Plaintiff’s Meal Break Claims Are Not Preempted.
                                                              9
                                                                        Plaintiff’s meal break claims are not preempted because they are
                                                             10
                                                                  independent of the CBA and the meal period provisions under the CBA are the
                                                             11
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                                                                  functional equivalent of what California statutory law requires. The CBA’s meal
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                                                                  period provision, states that “[w]hen employees work over five (5) hours without
                                                             13
                                                                  being provided with a one-half (1/2) hour meal period, they shall be paid an
                                                             14
                                                                  additional amount equal to one-half (1/2) hour pay.” Dkt. 2-7, Art. IX, Sec. 903, at
                                                             15
                                                                  p. 40. “the legal character of a claim, as ‘independent’ of rights under the
                                                             16
                                                                  collective-bargaining agreement [and] not whether a grievance arising from
                                                             17
                                                                  ‘precisely the same set of facts’ could be pursued.” Id. (quoting Livadas v.
                                                             18
                                                                  Bradshaw, 512 U.S. 107, 123 (1994)). Here, there is no difference between, on the
                                                             19
                                                                  one hand, the one hour of regular rate of compensation penalty that is assessed
                                                             20
                                                                  when an employee cannot take his/her meal period until after five hours versus, on
                                                             21
                                                                  the other hand, the one half hour of pay at the double time rate under the CBA. A
                                                             22
                                                                  grievance under law and a grievance under the CBA would exist under “precisely
                                                             23
                                                                  the same set of facts.”
                                                             24
                                                                        Second, while the Court may be called to refer to the CBA for wage rates in
                                                             25
                                                                  order to calculate damages owed to Plaintiff and aggrieved employees under
                                                             26
                                                                  California state law, mere reference to the CBA for wage payment calculations
                                                             27
                                                                  does not trigger preemption. Despite this, Defendant still argues the Court must
                                                             28
                                                                  analyze Plaintiff’s “job title, union status, and seniority, in order to determine the
                                                                                                         17
                                                                   PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR, IN THE
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                                                              1   corresponding wage rate upon which meal premiums are based.” [Dkt. 21-1, p. 27]
                                                              2   This hypothetical argument is not enough; Defendants cannot merely provide a
                                                              3   laundry list of provisions that they allege the Court must interpret to resolve
                                                              4   Plaintiff's claims. Instead, Defendants must explain why interpretation, as opposed
                                                              5   to mere reference to the CBA, is necessary. Burnside, supra, 491 F.3d at 1071
                                                              6   (rejecting preemption after a “cursory examination” of provisions in three different
                                                              7   CBAs). That they do not do.
                                                              8                       ii.    Plaintiff’s Rest Break Claims Are Not Preempted
                                                              9
                                                                        Plaintiff’s Rest Period claims are not preempted because the CBA contains
                                                             10
                                                                  no provision that provides for different rest period rights than those under statute.
                                                             11
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                                                                  Defendants do not contest this. Instead, they loosely aver that the CBA “expressly
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                                                                  provides for rest periods which are governed solely by the grievance and
                                                             13
                                                                  arbitration procedures set forth therein.” Dkt. 21-1, at 27:25-26 (emphasis added
                                                             14
                                                                  and citing UMF 30-31, and 45-46). But that avoids the fact that there is no express
                                                             15
                                                                  provision creating rest period rights within the CBA, as the Court can readily
                                                             16
                                                                  ascertain with a cursory word search through the CBA. What Defendants mean by
                                                             17
                                                                  this statement is that although there is no express provision in the CBA conferring
                                                             18
                                                                  rest period rights, the grievance and arbitration procedures require that any rest
                                                             19
                                                                  period claim be remedied under the CBA’s grievance procedures. But that is not
                                                             20
                                                                  what triggers preemption. Section 301 only preempts claims that are “founded
                                                             21
                                                                  directly on rights created by collective-bargaining agreements.” Caterpillar, Inc. v.
                                                             22
                                                                  Williams, 482 U.S. 386, 394 (1987) (emphasis added). Here, there is no rest
                                                             23
                                                                  period right created by the CBA, and Defendants can point to none. That absence
                                                             24
                                                                  means that the California Labor Code confers the rest period rights that Plaintiff
                                                             25
                                                                  alleges in this lawsuit.
                                                             26
                                                                                      iii. Plaintiff’s Overtime Claims Are Not Preempted
                                                             27
                                                                               Plaintiff’s Overtime Claims are not preempted because the only
                                                             28

                                                                                                         18
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                                                              1   provision in the CBA that speaks to it, tracks exactly with what California Labor
                                                              2   Code already requires. Dkt. 21-7, Art. XVII, sec. 1805.          It states that, “[a]ll
                                                              3   overtime Monday through Friday shall be at the rate of one and one-half (1½) the
                                                              4   regular straight time hourly rate for the first four hours of over-time worked and
                                                              5   shall be paid at double the straight time hourly rate after twelve hours of work.”
                                                              6   Id. The Court is not required to interpret or analyze what this provision states other
                                                              7   than merely “referring”
                                                              8                      iv. Plaintiff’s Expense Reimbursement Claims Are Not
                                                              9                          Preempted
                                                             10
                                                                        Unlike Plaintiff’s other Labor Code claims, Plaintiff concedes that his
                                                             11
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                                                                  underlying Labor Code claims for business expense reimbursements might require
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                                                                  some interpretation of the CBA. But “Because the Court need only refer to the
                                                             13
                                                                  CBA to resolve all of Plaintiff's underlying Labor Code claims, ‘the clarity of the
                                                             14
                                                                  agreements means that no further interpretation was required.” Matson v. United
                                                             15
                                                                  Parcel Service, Inc., 840 F.3d 1126, 1135 (9th Cir. 2016).
                                                             16
                                                                                     v. Plaintiff’s Wage Statement and Waiting Time Claims Are
                                                             17
                                                                                         Not Preempted
                                                             18
                                                                        Defendants’ theory on summary judgment, prior to any discovery being
                                                             19
                                                                  exchanged between the parties, is that Plaintiff’s wage statement and waiting time
                                                             20
                                                                  claims are preempted because they are wholly derivative. This argument fails.
                                                             21
                                                                  Defendants cannot dispute that these rights are not conferred by the CBA, so
                                                             22
                                                                  preemption is not warranted on a direct violation theory. Instead, they seek to
                                                             23
                                                                  confine Plaintiff to a derivative-only theory for which they have not satisfied their
                                                             24
                                                                  burden of showing that there is an absence of material fact here at this early stage.
                                                             25
                                                                     H. Defendants Violated this Court’s Specific, Straightforward Orders by
                                                             26
                                                                        Noticing their Motion for 45 days after the Date of Service.
                                                             27
                                                                        By filing their moving papers on November 5, 2021 and unilaterally noticing
                                                             28

                                                                                                         19
                                                                   PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR, IN THE
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                                                              1   a date of December 20, 2021 for their motion, Defendants violated this Court’s
                                                              2   Standing Order (Dkt. 9), as well as its Civil Trial Scheduling Order (Dkt. 20). The
                                                              3   only apparent reason for that decision was to require Plaintiff’s counsel to expend
                                                              4   substantial efforts over the Thanksgiving holiday.
                                                              5         The Court’s Standing Order provides that “[n]o motion shall be noticed for
                                                              6   hearing for more than thirty-five (35) days after service of the motion unless
                                                              7   otherwise ordered by the Court.” (Dkt. 9, Section 6(a), at p. 4:10-12). Defendants’
                                                              8   motion, in contrast, was noticed for 45 days after the November 5, 2021 date of
                                                              9   service. Defendant did not seek or obtain any order from the Court that would
                                                             10   trigger the “unless otherwise ordered by the Court” provision. Accordingly, the
                                                             11   December 20, 2021 noticed date violated Section 6(a) of this Court’s Standing
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                                                             12   Order.
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                                                             13         The Trial Scheduling Order further states that, with respect to Summary
                                                             14   Judgment Motions, “[i]n virtually every case, the Court expects that the moving
                                                             15   party will provide more than the minimum twenty-eight (28) day notice for such
                                                             16   motions.” (Dkt. 20, Section II(A)(1), at p. 4:23-24). It further states that with
                                                             17   respect to Summary Judgment Motions, “[i]n the usual case, the parties should
                                                             18   confer and agree on the date for setting such motions.” (Dkt. 20, p. 2:27-
                                                             19   28). Defendant did not meet and confer with Plaintiff on the date that it
                                                             20   unilaterally set for the present Motion, and has not shown why this is an unusual
                                                             21   case warranting that non-compliance.
                                                             22         As a result, in violation of two clear court orders, Defendants noticed a
                                                             23   hearing date that triggered an opposition filing deadline on the Monday
                                                             24   immediately following the Thanksgiving holiday weekend, requiring extensive
                                                             25   work by Plaintiff’s counsel over the same. (See L-R 7-9 (“each opposing party
                                                             26   shall … not later than twenty-one (21) days before the date designated for the
                                                             27   hearing of the motion … serve upon all parties and file with the Clerk … the
                                                             28   evidence upon which the opposing party will rely in opposition to the motion and a
                                                                                                         20
                                                                   PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR, IN THE
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                                                              1   brief but complete memorandum which shall contain a statement of all the reasons
                                                              2   in opposition.”). This could have been avoided if Defendants complied with either
                                                              3   of the orders, or at least satisfied their basic meet and confer obligations.
                                                              4         Defendants’ motion should be denied on this ground as well.
                                                              5    III. CONCLUSION
                                                              6         Because Plaintiff’s PAGA claims are neither exempted under Lab. Code §
                                                              7   2699.6 nor preempted by Section 301 of the LMRI, Defendant has failed to meet
                                                              8   its initial burden under Fed. R. Civ. P. 56(a), in showing an absence of genuine
                                                              9   issues of material fact regarding Plaintiff’s claims, including whether Plaintiff has
                                                             10   standing as an aggrieved employee to represent other allegedly aggrieved
                                                             11   employees under California Labor Code § 2699(a)(i); Kim v. Reins Int’l California,
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                                                             12   Inc., 459 P.3d 1123, 1127 (Cal. 2020).
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                                                             13

                                                             14   Dated: November 29, 2021                       LAWYERS for JUSTICE, PC
                                                             15
                                                                                                           By:   _________________________________
                                                             16                                                  Edwin Aiwazian
                                                                                                                 Jacob Karczewski
                                                             17                                                  Charles T. Sweeny
                                                             18                                                  Attorneys for Plaintiff
                                                             19

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                                                                   PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR, IN THE
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